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                        EXHIBIT A
                               1
                               1                                       Exhibit A
                                                                       Exhibit A
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From:
From:                            Rowley, Christian
                                 Rowley,  Christian
Sent:
Sent:                            Friday, May
                                 Friday, May 8,8, 2020
                                                  2020 3:46 PM
                                                       3:46 PM
To:
To:                              'Andy  Clark'
                                 'Andy Clark'
Cc:
Cc:                              Rowley, Christian
                                 Rowley,  Christian
Subject:
Subject:                         Cease &
                                 Cease  & Desist
                                           Desist Order
                                                   Order
Attachments:
Attachments:                     Clark.pdf
                                 Clark.pdf


Dear Mr. Clark:

You have been ordered by the United States District Court to direct all communications intended for Wells
Fargo or anyone associated with it to me. I have attached the Court Order.

Going forward, please do not attempt to communicate with anyone associated with the Bank or with my firm,
except for me. This includes faxes, phone calls, emails, texts or any other form of communication.

We appreciate your anticipated full compliance with this Order, so we don’t
                                                                      don't need to ask the Court to find you in
contempt or seek other sanctions.

Have a Good Weekend & Best Regards,

Christian




Christian J. Rowley |I Partner
San Francisco |I Ext: 781001 (+1-415-544-1001)
Ran                          (+1-415-544-1001)1| Mobile: +1-415-377-7195
crowley@seyfarth.com




                                                           1
                                                           1
                                                           2
                                                           2                                      Exhibit A
                                                                                                  Exhibit A
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                   IN
                   IN THE
                      THE UNITED
                          UNITED STATES DISTRICT COURT
                                 STATES DISTRICT COURT

                          FOR THE DISTRICT
                          FOR THE DISTRICT OF
                                           OF OREGON
                                              OREGON

                                EUGENE DIVISION
                                EUGENE DIVISION




ANDREW CLARK
ANDREW CLARK                                              Case
                                                          Case No. 6:20-cv-00253-AA
                                                               No. 6:20-cv-00253-AA
                                                           OPINION AND
                                                           OPINION    AND ORDER
                                                                            ORDER
             Plaintiff,
             Plaintiff,

      vs.
      vs.

WELLS FARGO
WELLS FARGO BANK;
            BANK; et al.,
                  et al.,

             Defendants.
             Defendants.


AIKEN, District
AIKEN, District Judge:
                Judge:

      Defendants
      Defendants Ogletree, Deakins, Nash,
                 Ogletree, Deakins, Nash, Smoak,
                                          Smoak, Stewart,
                                                 Stewart, P.C.
                                                          P.C. (“Ogletree”);
                                                               ("Ogletree"); Leah
                                                                             Leah

Lively; David Symes;
Lively; David Symes; Christopher Mixon (“the
                     Christopher Mixon ("the Ogletree
                                             Ogletree defendants”)
                                                      defendants") and
                                                                   and Steven
                                                                       Steven

Seymour
Seymour have
        have filed
             filed a
                   a motion seeking a
                     motion seeking a protective order and
                                      protective order     to declare
                                                       and to declare plaintiff,
                                                                      plaintiff,

Andrew Clark,
Andrew Clark, a vexatious litigant.
              a vexatious           Doc. 62.
                          litigant. Doc.     Defendants Wells
                                         62. Defendants Wells Fargo
                                                              Fargo Bank,
                                                                    Bank, N.A.
                                                                          N.A.

(“Wells
("Wells Fargo”)
        Fargo") has
                has also filed an
                    also filed an ex
                                  ex parte
                                     parte motion for a
                                           motion for a protective order. Doc.
                                                        protective order. Doc. 72.
                                                                               72.




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Page 1—          AND ORDER
         OPINION AND ORDER                3
                                          3                                     Exhibit A
                                                                                Exhibit A
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       For
       For the
           the following
               following reasons,
                         reasons, the
                                  the Ogletree
                                      Ogletree defendants’
                                               defendants' and
                                                           and Seymour’s
                                                               Seymour's motion
                                                                         motion (doc.
                                                                                (doc.

62) is granted
62) is         in part
       granted in part and
                       and deferred in part,
                           deferred in part, and Wells Fargo’s
                                             and Wells Fargo's motion
                                                               motion (doc.
                                                                      (doc. 72)
                                                                            72) is
                                                                                is

granted.
granted.

       Plaintiff
       Plaintiff is
                 is a former Wells
                    a former Wells Fargo
                                   Fargo employee
                                         employee with
                                                  with a
                                                       a long
                                                         long history of litigation
                                                              history of litigation with
                                                                                    with

the
the Ogletree
    Ogletree defendants,
             defendants, Seymour,
                         Seymour, and Wells Fargo,
                                  and Wells Fargo, including
                                                   including Wells
                                                             Wells Fargo Bank,
                                                                   Fargo Bank,

N.A.
N.A. v.
     v. Clark,
        Clark, No.
               No. 6:11-cv-06248-AA,
                   6:11-cv-06248-AA, Clark
                                     Clark v.
                                           v. Wells
                                              Wells Fargo
                                                    Fargo Bank,
                                                          Bank, N.A. et al.,
                                                                N.A. et al., No.
                                                                             No. 6:13-
                                                                                 6:13-

cv-01546-AA, Clark
cv-01546-AA, Clark v.
                   v. City of Eugene,
                      City of         et al.,
                              Eugene, et al., No.
                                              No. 6:14-cv-01103-MK. In two
                                                  6:14-cv-01103-MK. In     of those
                                                                       two of those

cases plaintiff
cases plaintiff was
                was either
                    either (1) warned to
                           (1) warned    limit his
                                      to limit     communications to
                                               his communications to defendants’ law
                                                                     defendants' law

firms and
firms and to
          to keep
             keep those communications focused
                  those communications         on the
                                       focused on     litigation and
                                                  the litigation and use a
                                                                     use a

professional
professional tone,
             tone, (2)
                   (2) held in contempt
                       held in contempt for failing to
                                        for failing to do so, or
                                                       do so, or (3) ordered not
                                                                 (3) ordered not to
                                                                                 to

communicate with
communicate with defendants
                 defendants except
                            except through
                                   through counsel
                                           counsel with authorization from
                                                   with authorization from the
                                                                           the

court. See
court.     e.g. Doc.
       See e.g. Doc. 153
                     153 in
                         in No.
                            No. 6:11-cv-06248-AA
                                6:11-cv-06248-AA (granting
                                                 (granting motion for contempt
                                                           motion for contempt based
                                                                               based

on conclusion
on conclusion that
              that Clark “continued to
                   Clark "continued    communicate with
                                    to communicate with [Wells
                                                        [Wells Fargo’s] counsel[,
                                                               Fargo's] counsel[,

Lively,] in a
Lively,] in a harassing, vulgar and
              harassing, vulgar and threatening
                                    threatening manner and willfully
                                                manner and willfully ignoring
                                                                     ignoring

reasonable
reasonable requests
           requests to conform his
                    to conform     communications to
                               his communications to a
                                                     a professional standard”); Doc.
                                                       professional standard"); Doc.

68 in No.
68 in No. 6:14-cv-01103-MK
          6:14-cv-01103-MK (ordering
                           (ordering no
                                     no contact with any
                                        contact with any person
                                                         person associated
                                                                associated with
                                                                           with

Wells Fargo
Wells       “concerning this
      Fargo "concerning this litigation
                             litigation or
                                        or any other matter,
                                           any other         without authorization
                                                     matter, without authorization by
                                                                                   by

specific order
specific order of
               of this court” and
                  this court" and that
                                  that "[a]ll
                                       “[a]ll such
                                              such communication
                                                   communication shall
                                                                 shall be
                                                                       be directed only
                                                                          directed only

to
to counsel of record”).
   counsel of record").

       Since
       Since plaintiff filed the
             plaintiff filed the Complaint
                                 Complaint in
                                           in this case in
                                              this case in February
                                                           February 2020,
                                                                    2020, he
                                                                          he has begun
                                                                             has begun

sending communications
sending communications directly
                       directly to
                                to defendants and others
                                   defendants and others who
                                                         who are
                                                             are associated
                                                                 associated with
                                                                            with

defendants but are
defendants but are not
                   not parties
                       parties to
                               to the case and
                                  the case     are not
                                           and are     involved in
                                                   not involved in the
                                                                   the events
                                                                       events




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Page 2
     2—– OPINION AND ORDER
         OPINION AND ORDER                 4
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                                                                                  Exhibit A
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underlying
underlying plaintiff’s claims.
           plaintiff's claims.       The Ogletree defendants
                                     The Ogletree defendants and
                                                             and Seymour,
                                                                 Seymour, through
                                                                          through

counsel, asked
counsel, asked plaintiff to stop
               plaintiff to stop contacting
                                 contacting them
                                            them directly, but plaintiff
                                                 directly, but plaintiff refused
                                                                         refused to stop
                                                                                 to stop

voluntarily.
voluntarily.

      The
      The Ogletree
          Ogletree defendants
                   defendants and
                              and Seymour
                                  Seymour now
                                          now move
                                              move the
                                                   the Court for an
                                                       Court for    order
                                                                 an order

limiting plaintiff’s
limiting             communications regarding
         plaintiff's communications regarding this
                                              this litigation
                                                   litigation to counsel of
                                                              to counsel of record
                                                                            record and
                                                                                   and

to
to refrain
   refrain from
           from contacting
                contacting defendants
                           defendants directly
                                      directly for
                                               for any
                                                   any reason. Doc. 62.
                                                       reason. Doc.     Wells Fargo
                                                                    62. Wells Fargo

moves
moves the
      the Court
          Court for
                for an order for
                    an order for plaintiff
                                 plaintiff to
                                           to refrain
                                              refrain from
                                                      from contacting
                                                           contacting defendants
                                                                      defendants or
                                                                                 or

those
those associated
      associated with
                 with Wells
                      Wells Fargo
                            Fargo without
                                  without authorization by the
                                          authorization by the Court
                                                               Court and
                                                                     and to
                                                                         to direct
                                                                            direct

any
any approved communication to
    approved communication    counsel of
                           to counsel of record.
                                         record. Doc.
                                                 Doc. 72.
                                                      72. Defendants
                                                          Defendants assert
                                                                     assert that
                                                                            that

plaintiff’s communications have
plaintiffs communications       been vexatious
                           have been vexatious and
                                               and disruptive
                                                   disruptive to
                                                              to this
                                                                 this litigation
                                                                      litigation and
                                                                                 and

to
to the work of
   the work of defendants and those
               defendants and those not involved in
                                    not involved in this case. Defendants’
                                                    this case. Defendants' motions
                                                                           motions

for protective
for            orders are
    protective orders are allowed.
                          allowed.

      The
      The Ogletree
          Ogletree defendants
                   defendants and
                              and Seymour
                                  Seymour also
                                          also move the Court
                                               move the Court for an order
                                                              for an order

declaring
declaring plaintiff a vexatious
          plaintiff a vexatious litigant
                                litigant and
                                         and prohibiting
                                             prohibiting plaintiff
                                                         plaintiff from filing future
                                                                   from filing future

complaints. The
complaints. The Court
                Court will
                      will defer
                           defer ruling on that
                                 ruling on that request
                                                request and will consider
                                                        and will consider it
                                                                          it alongside
                                                                             alongside

defendant’s
defendant's pending Motion to
            pending Motion to Dismiss
                              Dismiss (doc.
                                      (doc. 59).
                                            59).

      IT IS HEREBY
      IT IS HEREBY ORDERED
                   ORDERED that:
                           that:

      (1)
      (1) Plaintiff shall not
          Plaintiff shall not contact
                              contact or
                                      or communicate
                                         communicate with
                                                     with defendants
                                                          defendants Ogletree, Lively,
                                                                     Ogletree, Lively,

Symes, Mixon, or
Symes, Mixon, or Seymour or any
                 Seymour or any other
                                other person or office
                                      person or office associated with these
                                                       associated with these

defendants concerning this
defendants concerning this litigation
                           litigation or
                                      or any other matter
                                         any other matter except
                                                          except through
                                                                 through counsel of
                                                                         counsel of

record, John Pollino.
record, John Pollino.      Plaintiff’s
                           Plaintiffs contact  with counsel
                                       contact with counsel shall
                                                            shall be
                                                                  be limited
                                                                     limited to
                                                                             to

communication necessary
communication           for this
              necessary for      litigation.
                            this litigation.




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     3—– OPINION AND ORDER
         OPINION AND ORDER                  5
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                                                                                 Exhibit A
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      (2)
      (2) Plaintiff
          Plaintiff shall
                    shall not contact or
                          not contact or communicate
                                         communicate with
                                                     with any
                                                          any person
                                                              person associated
                                                                     associated with
                                                                                with

defendant Wells Fargo
defendant Wells Fargo concerning
                      concerning this litigation or
                                 this litigation or any other matter
                                                    any other        without
                                                              matter without

authorization by
authorization by specific
                 specific order
                          order of
                                of this
                                   this Court.
                                        Court.    All such
                                                  All such communication
                                                           communication shall
                                                                         shall be
                                                                               be

directed only to
directed only    counsel of
              to counsel of record,
                            record, Christian Rowley.
                                    Christian Rowley.

      Plaintiff
      Plaintiff is
                is warned
                   warned that
                          that failure
                               failure to
                                       to comply
                                          comply with
                                                 with the
                                                      the requirements of this
                                                          requirements of this order
                                                                               order

will result
will result in sanctions for
            in sanctions for contempt of court,
                             contempt of court, which
                                                which may include dismissal
                                                      may include           of this
                                                                  dismissal of this

proceeding.
proceeding.

      Dated
      Dated this 8th
            this ___
                 8th day of May
                     day of May 2020.
                                2020.




                                   /s/Ann Aiken
                            __________________________
                                   /s/Ann Aiken

                                    Ann Aiken
                                    Ann   Aiken
                            United
                            United States
                                   States District
                                          District Judge
                                                   Judge




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         OPINION AND ORDER                6
                                          6                                   Exhibit A
                                                                              Exhibit A
